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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

WYNN MA, LLC,
CIVIL ACTION

Plaintiff, No. 24-10067-WGY

Vv.
THE INTERNATIONAL BROTHERHOOD
OF TEAMSTERS, LOCAL 25; and
UNITE HERE!, LOCAL 26,

Defendants.

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YOUNG, D.J. June 24, 2024

ORDER

The Court has carefully reviewed the comprehensive and
helpful briefs of the parties and notes that here there is no
suggestion of corruption on the part of the arbitrator. This
Court holds that the Arbitrator’s award drew its essence from
the parties’ collective bargaining agreement and does not

violate public policy. See WYNN MA, LLC, Plaintiff, v. UNITE

HERE!, LOCAL 26, Defendant., No. 23-CV-11223-ADB, 2024 WL

2962805 (D. Mass. June 12, 2024) (Burroughs, J.). Accordingly,
given the extraordinary deference mandated by the Supreme Court
to arbitral proceedings, there is no just reason for delay and

no reason for an oral hearing. See UBS Fin. Servs. Inc. v.

Asociacion de Empleados del Estado Libre Asociado de Puerto

Rico, 419 F. Supp. 3d 266 (D. Mass. 2019). The Defendants’
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cross motions for judgment on the pleadings [ECF No. 28, ECF No.
30] are ALLOWED, except for the Defendants’ request for
attorney’s fees and expenses, which is DENIED. The Plaintiff’s
motion for judgment on the pleadings is DENIED [ECF No. 24], and
the Arbitrator’s award is CONFIRMED. Judgment will enter so
declaring.

SO ORDERED.

WILLIAM G. ey
DISTRICT JUDGE

